579 F.2d 641
    84 Lab.Cas.  P 10,929
    Ryalsv.Azalea City Racing Club, Inc.***
    No. 78-1048
    United States Court of Appeals, Fifth Circuit
    8/24/78
    S.D.Ala., 443 F.Supp. 146
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    